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Important Privacy Notice

Federal Rule of Civil Procedure 5.2 prohibits litigants in a non-habeas proceeding from
submitting documents that contain personal information. Unless the Court orders otherwise,
personal identifying information in Court filings must be limited as follows:

* Social security numbers, taxpayer-identification numbers, and financial account numbers
must include only the last four digits (¢.g., xxx-xx-1234)

* Birth dates must include the year of birth only (¢.g., xx/xx/2000)
+ Names of persons under the age of 18 must be indicated by initials only (e.g., A.B.) .

You are responsible for protecting the privacy of this information in your filings. If your

documents, including attachments, contain any information that does not comply with this rule,

please black out that information before sending your documents to the Court.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

Afacamial A, C FELNOIDE.
United Slates of Amente

(In ihe space above enter the full name(s} of the plaintiff(s).)

~ against -

Urdent Coad ét Unitn, CEG Kobet Wemer ‘COMPLAINT -
Kis. nc la : 6nn oe Jury Trial: Aes O No -
Vee LL, MarceHa Me Cullaugh, | oe : : A (check one)

oO mer | Al: sSjav ohn Apo

Bill One L Drew Pearlman

— Aang anal Ail AHorneys invalved

| Attacna, Cenere| of 3 PA ee
 Comptrsller. ot. the Curren ef . oj LA
‘Secratary of State Penwasy lan ov ae

_ (in the space above enter the full name(s) of the defendant(s}, Ifyou ..
_ cannot fil the names of all of the defendants in the space provided, | —
please write “see attached” in the space above andattachan
additional sheet of paper with the full list of names. The names
fisted in the above caption must be identical to those contained i in
| Parti Add) esses should not be included her e, a

Lo. Parties in this complaint:

A, . : List your name, address and telephone number, if you are presently in custody, include your identification a
. _ mumber and the name and address of your current place of confinement. Do the same ° for any additional . -

a plaintiffs named. Attach additional sheets of paper é as necessary.

‘Plaintiff! Name Waceemad e lemelS
, my - Street Address : ABLY Fir ley Stree k
oe County, City. a Phy lackely bla FAL
State & Zip Code . Lennsylvanicr f P20

. Telephone Number, oo : f @] 4: e528 2830

Rev. 10/2009

Cas V-

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Defend ent

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Defendent*b Sohn Trerte Crisk. Mouage ment )
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List all defendants. You should state the full name of the defendants, even if that defendant is a government
agency, an organization, a corporation, or an individual. Include the address where each defendant can be
served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
Aftach additional sheets of paper as necessary.

Defendant No. 1 Name Ardent Credit lUtnian

Street Address £5. 0D Spieng G Garden. Street Su hs soo

county, City Phy ladles Lyolst ta.
State & Zip Code PA. L 4G / 3 O

Defendant No. 2 a - Name «6 ”/) ef Af; S90. IAC.

Defandant No 4 : o won Maxeelle Me Caluglr

I.

Street Address XYF _[y/ Street RD.

County, City LWlarmnstér
State & Zip Code. Fe (S514

Defendant No. 3 . Name Kobert bs ler kvIe

Street Address /S CD Sarma Garden heck Saitesco
County, City P bj le lel phi. CAL

us State & Zap Code 4: 19130.

-° Street Address z ae tbe

a Q eee LP Noddeh VTL PHAM
-. State & Zip Code PA LAI30_

(See attee hed

: _ Basis for Jur isdiction: .

- Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
'”~ Ynvolving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a

case involving the United States Constitution or federal laws or treaties is a federal question case, Under 28 U.S.C. § |
1332, a case in which a citizen of one state sues a citizen of another, state and the amount in damages i is more ¢ than of
$75,000 1 isa diversity of citizenship case. : 4

A

Be

“What is the basis for federal court rt jurisdiction? (check all that at apply)

oY Federal Questions © ss Q.:s«éDiiversity of Citizenship —

If the basis for jurisdiction i is Federal Question, what federal Constitutional, statutory. or treaty right i is at -° .

“issuer 22 USC1983, Bill oft rights: 4A4icle(s\ The Eins 4 -

Ararth and Lilth, Frivacy Act Adaamistrative
| Frocedurs 2S “et, Tucker Bot.

Rev. 10/2009 - - Be

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Cc. If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiffi(s) state(s) of citizenship

Defendant(s) state(s) of citizenship

Tif. Statement of Claim:

State as briefly as possible the facts of your case, Describe how each of the defendants named in the caption of this
complaint is involved in this action, along with the dates and locations of all relevant events. You may wishio
inelude further details such as the names of other persons involved in the events giving rise to your claims, Do not

cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim i ina

separate paragraph, Attach additional sheets of paper as necessary. .

A. Where did the events giving rise to your claim) oceur? EM kK ost JS y e ed 2 ad

|aenad ster, FA! PTTL

B. | What date and approximate time did the events giving rise to your caimgs occur? t VG 7 3 /, 082

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‘Mar cella Me lx [lough, James Tait John “Tre. Gus, .
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° "Facts: On thes cate Otel dssitn sold me a MMissaa ye

MME.

Se,

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have all witnessed this process.

IV. Injuries:

If you sustained i injuries related to the events alleged above, describe them and state what medical treatment, if any,

you required and received. TT Aavée SULSHAL qed L} 4 ‘cel ha th vhi pfs wferie

je. fees tir case CertiLred mail tecept, poayeng Gk ‘S
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onea ty ThE S70 SS. foe Jate infirmett Od, Phir eats oS

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V. > Relief

-. State what you want the Court to do for you and the amount of monetary compensation, if any, you: are seeking and:

the basis for such compensation.

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lauteul Prthange., reports noQned lotion, Sa oo
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bl: gatlins_of 1 pterest ga publeo Debt” ikPuUane rok 5
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Corporation hala nas PLCMUSES, POULKS ot Board

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Case 2:25-cv-03081-KSM Document1 Filed 06/17/25 Page 7 of 19

I declare under penalty of perjury that the foregoing is true and correct.

Signed this_/ 7M ay of Sur eC. 20.85.

_ Signature of val OC ; LZ
Mailing Address fal Lar Flay Stree {-
Philadel phia PA 1Alae

‘Telephone Number QC a1 HSS 7 6 AQ

: Fax Number (if'you have one) -
. E-mail Address 4

- Note: All plaintiffs named in the caption of the complaint must date and sign the complaint, Prisoners nuust also
“provide their inmate numbers, pr esent place of confinement, and address. :

For Prisoners:

I declare under penalty of perjury that on this day of no , 20 Lam delivering | - .
this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the
Eastern District of ‘Pennsylvania. , Lt . :

"Signature of Plaintiff:

' ‘Inmate Number

Ray. 10/2009 Be

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UNCONSCIONABLE AGREEMENT REC'D JUN 17 2025

When a Corporation/Entity enters into an unconscionable contract it is void when the following key legal
and factual defects are present:

1) Lack of Capacity by the borrower under federal banking and lending laws. Only certain types

2)

3}

of legal “PERSONS” are eligible to receive Auto Loans. These include:
A. Corporations oo
B. Trust
C. Partnerships
D. Government Agencies
E, Foreign persons with capacity to open time deposit accounts at IBF’s

Private people acting in their personal capacity- not as agents or officers of a statutory
entity- are not authorized under title 12 U.S. Code to receive loans “secured by an auto loan”
used as private locomotive property.

Relevant Authority

12 U.S. Code 1759- membership

12 U.S. Code 1757(a)(c}(3} Powers |

12 U.S, Code 1761 Management |
Lack of Lending Authority by the Bank
Banks regulated under title 12 2may only loan "money" or extend “credit” under strict
constraints:

- A. Must be for business, agricultural, industrial, or commercial use.

B. May not accept private property (locomotion), as security for a aute loan in a lawful,

enforceable manner unless it meets the federal definition of “real property” in 12 CFR. -

If the alleged “loan” was extended to acquire private property, then it was not a lawful.
banking transaction- it was misrepresentation of power, rendering the agreement
unconscionable.

CASE LAW:
THOMPSON V. HUBBARD, 131 U.S. 123 (1889)—Contracts outside statutory
authority are not just voidable, but void j in law and equity

Fraud in the inducement
Ifthe private party was not informed of these limitations, or was sled to believe they
were receiving a lawful Auto Loan, it constitutes:.
A. Fraud in the inducement -
B. Failure to disclose material facts
C. Constructive fraud due to institutional advantage
This makes any consent to the agreement nullified- the contract isn’t trult theirs ( see:

4)

5}

6)

- schemes.

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Non Est Factum Doctrine).

No Valid Consideration or Lawful Exchange

Banks often create the “loan” via a book entry or deposit from the borrower’s signed
note (i.e. funding via promise}. No tangible exchange of lawful U.S. Treasury-backed money
occurred.

A. This fails basic contract principles: mutual assent + lawful consideration

8. The note is converted into an asset and monetized- meaning | the bank never actually

parted with anything of value _

instrument Does Not Apply to Property
Most Automotive titles are written under:
A. Uniform Commercial Code Principles
B. Statutory real property terms (residential, commercial, agricultural)

Violation of Public Policy and human Rights/ Repossession of private Property (locomotion)
A. Frustrates public policy against rights to travel :
B. Triggers s* and 14" Amendment due > process concerns when done v via non-judicial

c. Is in full viofation of the TILA Act . .

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Petitioner is asking to show proof of:

12 U.S. CODE 411- ISSUANCE TO RESERVE BANKS; NATURE OF OBLIGATION
12 U.S. CODE 622- ARTICLES OF ASSOCIATION: CONTENTS
12 U.S. CODE 613- SIGNING OF ARTICLES OF ASSOCIATION

12 U.S. CODE 371d- INVESTMENT iN BANKING PREMISES OR STOCK OF CORPORATION HOLDING
PREMISES :

12 U.S. CODE 1766- POWERS OF BOARD

12 CFR 204.3- REPORTING AND LOCATION

12 CFR 225.28(b)}(2)- PERMISSIBLE NONBANKING ACTIVITIES RELATED TO EXTENDING CREDIT
12 CFR 704.1- SCOPE a

28 U.S. CODE 1346- JUDICIARY AND NON-JUDICIAL PROCEDURE

31 U.S. CODE 3123 A,B, & C- PAYMENT OF OBLIGATIONS OF INTEREST ON PUBLIC DEBT

1)

2}
3)

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Plaintiff Recovery for invasion of privacy rights:

General damages for harm to plaintiffs interest in privacy which results from repossession
threats and theft of property.

Deprivation of rights.

Financial suffering

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Page 1
PAE AO 239 (10/09) Application to Proceed in District Court Without Prepaying Pees or Costs (Long Form)
UNITED STATES DISTRICT COURT
for the
Eastern District of Pennsylvania
)
PlaintiffiPetitioner )
oy, oo ) Civil Action No.
- ) : a!
Defendant/Respondent )
APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Long For mt)
Affidavit in Support of the Application . Instructions —
Lam a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.

that I am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,” -
and that I am entitled to the relief requested. Ideclare “none,” or “not applicable (N/A),” write that response, If
under penalty of pezjury that the information below is you need more space to answer a question or to explain your .

true and understand that a false statement may result . “answer, attach a separate sheet of paper identified with your || .. - we
ina a dismissal. of my claims. a “name, your case's docket number, and the question number.

Signed: . _ Soe co Date:
1. For both you and your spouse estimate the average amount of money received from each of the following

sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the ¢ monthly rate. Use gross amounts, that i is, amounts before any deductions _ -
for taxes or otherwise.

-. Income source =. a Average monthly income - Income amount expected :
mae amount during the past12. | ~~ mext month - pave
“months _ mp
You | __—s Spouse You _ Spouse
Employment AR $0 $ Bs
Self-employment 1g $ $ $
Income from real property (such as rental income) |b $ lg. $
[Interest and dividends - $ - $ 4 $ $
Gifts 18 $ |S $
Alimony $ $ NS $
Child support $ $ AS $

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Page 2
PAE AO 239 (10/09) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)
Retirement (such as social security, pensions, annuities, $ § $ dg
insurance)
Disability (such as social security, insurance payments) $ $ $ $
Unemployment payments | $ $ |g
Public-assistance (such as welfare) $0 $ . OTS l$
Other (specify): oO Is g = g ue : §
Total monthly income: | § $ 8
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer =. _  jAddress 5 Do, Dates of employment == | Gross
_ : he monthly pay
1$
3. -List your spouse's employment history. for the past two years, most recent employer first. Gr Oss monty pay is
before taxes or other deductions, ) - - Boag 4
Employer =... °. .~. . |Address ig ei he Dates of employment ...| ~. Gross.
ee po Be a monthly pay
“lg
‘|$
4. How much cash do you and your spouse have? $
Below, state any money you or your spouse have in bank a accounts or in any y other financial institution. :
[Financial institution . >. |Typeofaccount 9 fo Amount you have . Amount your -
ce a spouse has
‘lg $ :
de t$
S- s-

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
-expenditures, and balances during the last six months in your institutional accounts. If you have multiple. accounts,
perhaps because you have been in n multiple institutions, attach one certified statement of each account. :

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PAE AO 239 (10/09) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

Page 3

5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.
Assets owned by you or your spouse
Home (Value) a $
Other real estate (Value) bes a 1$
Motor vehicle #/ (Value) : ok oo $
Make and year:
Model:
Motor vehicle #2 (Value). ve, oS . a 1$
Make and year:
’ Model:
Other assets (Value) — es as ma, Cen oe: as ere Ag os
Other assets (Valuey SAS OU as Lg
6... State every person, business, or organization owing you or your spouse money, and the amount owed. foe
Person owing you or your spouse * Amount owed to you |... Amount owed to your spouse oe
3 $
$ So 1B:
$ AS
7... State the persons who rely on you or your spouse for support. os

Name (or, if under 18, initials only) © | Relationship — es TAge

Case 2:25-cv-03081-KSM Document 1

Filed 06/17/25

PAE AO 239 (10/09) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

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Page 4

8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse, Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

You Your spouse

Rent or home-mortgage payment (including lot rented for mobile home) a
Are real estate taxes included? [] Yes [J No 1$
Is property insurance included? [] Yes [1] No

Utilities ¢lectricity, heating fuel, water, sewer, and telephone) $

Home maintenance (repairs and upkeep) $

Food $

Clothing $

Laundry and dry-cleaning 1$

Medical and dental expenses . 18

Transportation (not including motor vehicle payments) a . 3

Recreation, entertainment, newspapers, magazines, etc. - oe Ig /

Insurance (not deducted from wages or included in morigage payments)

Homeowner's or renter's: oS ot 8.
Life: 18.
‘Health: {$..
Motor vehicle: jo
Other: » 3
Taxes (not deducted from wages or included in mortgage payments) (specify):. ao : $
installment payments | -
Motor vehicle: . $. .
_ . Credit card (name): . * jh:
Department store (name): $
Other: |$
Alimony, maintenance, and support paid to others $

PAE AQ 239 (16/09) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

Case 2:25-cv-03081-KSM Document1 Filed 06/17/25 Page 16 of 19

Page 5

Regular expenses for operation of business, profession, or farm (attach detailed $ 3
sfatenient)
Other (specify): $ s
; 8
Total monthly expenses:

10.

il.

‘If yes, how much?. $

Do you expect any maj or changes to your monthly i income or expenses or m your assets or liabilities during the
next 12 months?

[]yves [[] No _. If yes, describe on an attached sheet.
Have you paid —- or will you be paying — an attorney any money for services in connection with this case,
including the completion of this form’? L ‘Yes [INo . : -

If yes, how much? $
If yes, state the attorney’ s name, address, and telephone number:

Have you paid —— or - will you be paying — anyone other than. an attorney (ouch as a 1 paralegal ora typist) any ‘money.

for services in connection with this case, including the completion of this form? Oy Yes. i eee!

a if ‘Yes, state e the person's, name, address, and telephone. number:

12.

13.

Your daytime phone number: -

Provide any other information that will help explain why you cannot pay the costs of these proceedings.

Identify the city and state of your legal residence. :

Your age: Your years of ‘schooling:

‘Last four digits of your social-security number:

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FROM THE OFFICE OF THE CLERK OF COURT,
THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Consent to Receive Notices of Electronic
Filing for Self-Represented Litigants Who are Not Incarcerated

Parties who are not represented by an attorney and who are not currently incarcerated may use this
form to consent to receive electronic notice of documents entered in their cases instead of receiving those
documents by regular mail. Parties may not use this form unless s they have already provided a valid i physical

mailing address.

How to Access Documents Electronically:

Under Federal Rules of Civil Procedure 5(b)(2)(E) and 77(d)(1), you may consent to receive .

electronic notifications of documents—including Court orders—that are filed in your case. Ifyou consent to <

receive electronic notice by completing this form and returning it to the Clerk’s Office, you will receivea
Notice of Electronic Filing by e-mail each time a document is filed in your case. You will no longer receive . -
documents filed in your case by regular mail. After receiving the Notice of Electronic Filing, you are
permitted to view the document one time without cost within 15 days of receiving the email. You can access
the document by clicking on the hyperlinked document number in the e-mail. Ifthe document has ©.
- attachments, you will be prompted to view all of the attachments on a subsequent screen. Please be advised
that if you click on the case number instead of the document number, you will be directed to the Public
~ Access to Court Electronic Records. service (PACER) ar and will be prompted t to pay for: “viewing the docket .
sheet for the case. ooh!

Once you u click the hyperlink and access the documents in that filing, soul no wo be able to: |” :
. access those documents without cost. After 15 days from the date of the Notice of Electronic Filing, the

hyperlink wiil no longer provide free access even if you have not already viewed your documents. For these.

reasons, you should print or save the documents during the “free look” to avoid any future charges. ~

While a PACER account is not required to access most documents during a “free look” period, you will need. _

a PACER account to access any restricted documents or to view documents outside of the “free look” period.
To register for a PACER togin and Password, visit www. pacer. uscourts. gov ( or call 1. 800-676- 6856.

Important | Notice: OS
It you. consent to electronic notice, » yous should understand that:

L You will 3 no longer receive documents filed i in your case, ,neluding Court orders, in the mails

2. Ifyou do not view and download your documents during your “free look” » within 15 days of when
the court sends the e-mail notice, you will be charged f for looking at the documents;

3. Restr icted documents can only be viewed by setting up an account thr hrough PACER;

4, This consent does not st permit you to electronically file your, documents. If-you would like too.
-.. electronically file your documents, you may use the Electronic Document Submission (EDS) tool
._ available through the Court’s website, or you may file a motion asking the Judge assigned to your |
. ease to permit you to file using the Court’s Electronic Case Filing System. If you use either of
- these two systems to file documents with the Court, you will also receive electronic notice of
-orders and other anes in your case at the e-mail address you provide. See Local Rule -

5.1.2(7)(a), (d), (©).

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5. It will be your duty to regularly review the docket sheet for any case you have before the Court to
make sure that you do not miss a filing. The docket contains the record of all filings in a case and
may be viewed by using PACER, or it may be viewed for free at the Court’s public terminals
during business hours.

6. This consent will be valid unless or until you revoke the consent in writing. To revoke consent,
you must file a “Revocation of Consent to Receive Notices of Electronic Filing” and file it in
each case for which you do not wish to continue receiving notice electronically. You must
include your current physical mailing address in any revocation to make sure that you, continue to
receive notice of filings j in your case, including court orders. Ls :

Consent:

By signing this form, I consent to receive notice and service of all items required to be served under

Federai Rules of Civil Procedure 5 and 77(d) by email transmission at the e-mail address I have provided on -

this form. In doing so, I waive my right to service by mail. I represent that I have regular access to my e-
mail account and to > the internet, and that I will check my. account regularly for notices of electronic. As.

] further agree to promptly notify the Clerk’s Office i in writing if there is any change to my e-
mail address or mailing address within 14 days of the change as required by Local Rule 5.1(b). | also
agree to notify the Clerk’s Office in writing by filing a “Revocation of Consent to Receive Notices of .
_ Electronic Filing” in each case for which I revoke my consent to receive notice electronically, I understand

that electing to receive notices of electronic filing when documents are filed j in my case ; does not grant ine the oe

ability to file or serve documents electronically. -

List the case name and case number for which you want this consent to apply: :

Case ame e and number:

This consent only applies to the case listed above. To receive electronic notice i in other cases, you must oe
filea separ ate consent i in each case for which you would like to receive electronic notice. oO

Dito Signatur

Printed Name .'

‘Mailing Address -

» City, State, Zip Code .

. Email Address

35 44 (Rev. 03/24) Case

The JS 44 civil cover sheet and
provided by local rules of court. This

purpose of initiating the civil decket sheet.

REG DacdlWNviska took

2:25-cv-03081-

LReGVER SHER aoe RG le 19 y 19
x replace nor supplement the filing and service of pl dil éfdias COBB aw, except as

form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
(SE INSTRUCTIONS ON NEAT PAGB OF THIS FORM)

I. (a) PLAINTIFFS
Naeemeah

(Bb) County of Residence of First

ah H. Clemens

DEFENDANTS Ardent Cc rede u

WAN AGE nt
United States of Amerrea— ment team ovh e+; FA syse ve nage
Listed Plaintiff County of Residence of First Listed Defendant Co Her a é the 3
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Wwe OF JURISDICTION (Place an “X” ft One Box Only)
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U.S. Government
Plaintiff

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IH. CITIZENSHIP OF PRINCIP AL PARTIES {Place an “X”" in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
Federal Question Fir DEF PTF DEF
(U.S. Government Not a Party) Citizen of This State Et (J 1 Incorporated or Principat Place [J¢ [4
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‘(indicate Citizenship of Parties in item HD of Business In Another State

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|_| 422 Appeal 28 USC 158

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110 Insurance PERSONAL INJURY PERSONAL INJURY ‘T| 375 False Claims Act

120 Marine 310 Airplane [) 365 Personal Injury - of Property 21 USC 881. tl 423 Withdrawal -T 376 Qui Tam (3! USC

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VIII. RELATED CASE(S) .
IF ANY (See instructions): FUDGE DOCKET NUMBER
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